                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í20)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 413 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:

                  Apr 11, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                             MDL No. 2804



                   SCHEDULE CTOí20 í TAGíALONG ACTIONS



 DIST       DIV.     C.A.NO.    CASE CAPTION


ALABAMA MIDDLE

                                Chambers County, Alabama v. Purdue Pharma L.P. et al
  ALM        3       18í00361   (JOINT ASSIGN)

ALABAMA NORTHERN

  ALN        2       18í00469   Shelby County Alabama v. Purdue Pharma LP et al
  ALN        2       18í00482   Midfield, City of v. Purdue Pharma LP et al
  ALN        2       18í00492   Blount County Alabama v. Purdue Pharma LP et al
                                Bibb County, Alabama v. Amerisourcebergen Drug
  ALN        7       18í00473   Corporation et al

ALABAMA SOUTHERN

  ALS        2       18í00142   City of Greensboro, Alabama v. Actavis LLC et al
  ALS        2       18í00143   Hale County, Alabama v. Actavis LLC et al

GEORGIA MIDDLE

                                THE UNIFIED GOVERNMENT OF MACON BIBB
 GAM         5       18í00106   COUNTY GEORGIA v. AMERISOURCEBERGEN
                                DRUG CORPORATION et al

MINNESOTA

  MN         0       18í00829   Douglas County, Minnesota v. Purdue Pharma L.P. et al
                                Morrison County, Minnesota v. Purdue Pharma L.P. et
  MN         0       18í00831   al
                                St. Louis County, Minnesota v. Purdue Pharma L.P., et
  MN         0       18í00875   al

MISSISSIPPI SOUTHERN

                                Walthall County, Mississippi v. Amerisourcebergen
  MSS        2       18í00045   Drug Corporation et al

OREGON
                           Cow Creek Band of Umpqua Tribe of Indians v. Purdue
  OR      6     18í00535   Pharma L.P. et al

WASHINGTON WESTERN

 WAW      3     18í05238   Thurston County v. Purdue Pharma, L.P. et al
 WAW      3     18í05241   Clark County v. Purdue Pharma, L.P. et al
 WAW      3     18í05247   The Nisqually Indian Tribe v. Purdue Pharma L.P. et al
